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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MUDPIE, INC.,                                      Case No. 20-cv-03213-JST
                                                        Plaintiff,
                                   8
                                                                                            ORDER DISMISSING CASE WITH
                                                 v.                                         PREJUDICE
                                   9

                                  10     TRAVELERS CASUALTY INSURANCE                       Re: ECF No. 52
                                         COMPANY OF AMERICA,
                                  11                    Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          On September 14, 2020, the Court granted Defendant’s motion to dismiss Plaintiff’s

                                  14   complaint with leave to amend. ECF No. 51. An amended complaint was due within 21 days

                                  15   from the date of the order. Id. at 14. On September 22, 2020, Plaintiff filed a notice that “it will

                                  16   not be amending its Complaint, as permitted by the Court’s Order.” ECF No. 52. Accordingly,

                                  17   the case is now dismissed with prejudice. The clerk shall enter judgment and close the file.

                                  18          IT IS SO ORDERED.

                                  19   Dated: September 23, 2020
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                                                                                                      JON S. TIGAR
                                  21                                                            United States District Judge

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